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         In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                       No. 21-1977V
                            Originally Filed: September 6, 2022
                      Reissued for Public Availability: October 3, 2022

                                                                 Special Master Horner
    MICHAEL RELUCIO,

                        Petitioner,                              Dismissal Decision; Influenza
    v.                                                           (“Flu”) Vaccine; Allergic
                                                                 Reaction; Order to Show
    SECRETARY OF HEALTH AND                                      Cause; Insufficient Proof;
    HUMAN SERVICES,                                              Failure to Prosecute
                       Respondent.



Michael Relucio, pro se, San Diego, CA, for petitioner.
James Vincent Lopez, U.S. Department of Justice, Washington, DC, for respondent.

                                              DECISION 1

      Petitioner filed this claim on October 6, 2021, alleging that the influenza (“flu”)
vaccine he received on September 11, 2021, caused him to suffer an allergic reaction
causing swelling and blisters of the hands. (ECF No. 1.) 2 For the reasons discussed
below, this petition is now dismissed.

         I.       Procedural History

        Petitioner filed this claim on October 6, 2021, approximately four weeks after the
vaccination at issue. (See ECF No. 1.) With the petition, petitioner had filed records
from medical encounters dated September 13, 2021, September 16, 2021, and
September 20, 2021. On October 19, 2021, I issued an initial order instructing
petitioner that ultimately more complete medical records would need to be filed in order
to support this claim. (ECF No. 9, pp. 3-4.) However, I stayed the case until March of
2022, because of the Vaccine Act’s requires that petitioners who have not died or
experienced in patient hospitalization and surgical intervention must “suffer the residual
effects or complications of [their injury] for more than six months after the administration
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  Pursuant to Vaccine Rule 18(b), this decision was initially filed on September 6, 2022, and the parties
were afforded 14 days to propose redactions. The parties did not propose any redactions. Accordingly,
this decision is reissued in its original form for posting on the court’s website.
2
 “ECF No.” refers to the location of each document on the court’s electronic filing system. Pro se
petitioners such as Mr. Relucio do not have access to the electronic docket
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of the vaccine” before they are eligible for compensation. (ECF Nos. 9, 11; see also 42
U.S.C. § 300aa-11(c)(1)(D) (2018).) Once sufficient time had passed for petitioner to
cure this defect, I issued an order on March 15, 2022, lifting the stay and directing
petitioner to file the medical records necessary to support his claim by no later than
June 13, 2022. (ECF No. 11.) Since that time, petitioner has not filed any medical
records nor contacted the Court to explain how he intends to proceed.

        On July 1, 2022, I issued an Order to Show Cause allowing petitioner one final
chance to file medical records to support his claim. (ECF No. 14.) I explained that
petitioner’s deadline of August 30, 2022, would be his last opportunity to file supporting
medical records and if they were not filed, petitioner’s claim would be involuntarily
dismissed. (Id.) Despite the Order to Show Cause, petitioner has made no contact with
the Court and has not filed the required medical records.

       II.       Legal Standard

        In general, to receive compensation in the Vaccine Program, a petitioner must
prove either (1) that the vaccinee suffered a “Table Injury”—i.e., an injury falling within
the Vaccine Injury Table—corresponding to a covered vaccine, or (2) that the vaccinee
suffered an injury that was actually caused by a covered vaccine. See §§ 13(a)(1)(A)
and 11(c)(1). To satisfy his burden of proving causation in fact, petitioner must show by
preponderant evidence: “(1) a medical theory causally connecting the vaccination and
the injury; (2) a logical sequence of cause and effect showing that the vaccination was
the reason for the injury; and (3) a showing of a proximate temporal relationship
between vaccination and injury.” Althen v. Sec’y of Health & Human Servs., 418 F.3d
1274, 1278 (Fed. Cir. 2005). The Vaccine Act also limits compensation only to those
cases that are supported by either medical records or the opinion of a competent
physician. The Vaccine Act states with regard to a finding that petitioner can recover for
his injury: “The special master or court may not make such finding based on the claims
of a petitioner alone, unsubstantiated by medical records or medical opinion.” 42 U.S.C.
§ 300aa-13(a)(1).

       In all events, in order to state a claim for a vaccine injury under the Vaccine Act,
a vaccinee must have either:

       suffered the residual effects or complications of such illness, disability,
       injury, or condition for more than 6 months after the administration of the
       vaccine, or (ii) died from the administration of the vaccine, or (iii) suffered
       such illness, disability, injury or condition from the vaccine which resulted in
       inpatient hospitalization and surgical intervention.

§300aa-11(c)(1)(D).

       Pursuant to Vaccine Rule 8(a), the special master “will determine the format for
taking evidence and hearing argument based on the specific circumstances of each
case and after consultation with the parties.” Vaccine Rule 8(d) expressly authorizes


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the special master to decide a case based on the written record without holding an
evidentiary hearing. Moreover, Vaccine Rule 21(b)(1) provides that “[t]he special
master or the court may dismiss a petition or any claim therein for failure of the
petitioner to prosecute or comply with these rules or any order of the special master or
the court.”

       III.   Analysis

        In this case, petitioner’s medical records show that he presented to an urgent
care facility two days after his influenza vaccination reporting an itchy rash on his
hands, feet, and back. (ECF No. 1-2, p. 2.) He also had discomfort at the back of his
throat. (Id.) He was diagnosed as having an allergic reaction and prescribed
prednisone. (Id.) He returned for follow up care three days later with worsened
symptoms. He was prescribed a higher dose of prednisone and also recommended
cetirizine and diphenhydramine. (Id. at 4.) On September 20, 2021, petitioner was
seen by a dermatologist. (Id. at 10.) Upon examination, petitioner had crusted macules
with no active vesicle or bullae and many hyperpigmented macules and patches on his
palms and digits. (Id.) Petitioner was diagnosed with dermatitis and postinflammatory
hyperpigmentation. (Id.) However, a differential diagnosis also included sweet’s
syndrome and hand foot and mouth disease. (Id. at 11.) Petitioner was placed on a
topical corticosteroid (Diprolene ointment) and advised to return as needed if symptoms
flared after tapering off prednisone or if any systemic symptoms arose. (Id.) No further
medical records were filed and the petition does not include any allegation regarding
petitioner’s medical course subsequent to September 20, 2021.

        This petition has been pending for eleven months without any further medical
records having been filed. I previously stayed this case temporarily so that petitioner
could determine whether his injury would persist for at least six months in order to
ultimately satisfy the Vaccine Act’s severity requirement; however, petitioner has not
subsequently been in contact with the court despite having been ordered to produce his
medical records. Additionally, I provided petitioner clear notice in my July 1, 2022 Order
to Show Cause that his case was at risk for involuntary dismissal. Accordingly,
especially given the possibility petitioner’s injury did not persist for at least six months,
petitioner’s lack of contact with the court strongly suggests that he does not intend to
continue his case further.

       Petitioner has had a full and fair opportunity to develop this case, but has failed
to prosecute. On the existing record, petitioner has not demonstrated that his alleged
vaccine injury resulted in death, inpatient hospitalization, or complications or residual
effects persisting for at least six months. Accordingly, dismissal is appropriate.



       IV.    Conclusion




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       This case is now DISMISSED both for failure to prosecute and for insufficient
proof. The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                                        s/Daniel T. Horner
                                                        Daniel T. Horner
                                                        Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.

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